Case 1:21-cv-00892-RP Document 36 Filed 08/07/23 Page 1 of 4

FILED
SUPREME COURT OF THE UNITED STATES Aug 97 y903

CLERK, U.S. DISTRICT COURT

Kimberly D. Hogan Pro se COU enN DISTRICT OF TExss
Plaintiff / Appellant on DEPUTT IS ESS
. oo, ITY CLERK
Appeal from the U. S. Fifth Circuit Court of Appeats' A

No. 23-50090

Appeal from the USDC for the Western District of Texas
USDC CASE NUMBER: 1:21-CV-00892-RP

nspire Fl ah D/B/A Aspire | i
and Council Donald E. Uloth

Defendants / Appellees

PROOF OF SERVICE

On July 31st, 2023, I Kimberly D. Hogan Pro Se served a true and correct copy of the foregoing
Petitioner’s MOTION FOR LEAVE TO PROCEED JN FORMA PAUPERIS and SCOTUS NOTICE and
DEMAND FOR JUSTICE within 3 Calendar Days By Email and through U.S. Postal Service to Donald
E. Uloth don.uloth@uloth.pro Counsel for Respondent, and the rest of the following added Parties /
Defendants: Clerk Felicia Pitre, Court Coordinator Melinda Thomas, Clerk Lisa Matz, Deputy Clerk
Kristen Golby, Clerk Blake A. Hawthorne, Judge Robert Pitman, Magistrate Judge Mark Lane, Tyler
Technologies, Deputy Clerk Lisa E. Ferrara, Mystery “Deputy Clerk” Melissa Shanklin, Judge James E.
Graves Jr., Judge James Ho, Judge Jennifer Walker Elrod, Chief Judge Priscilla Richman, and
BLACKROCK CEO Larry Fink

I declare under penalty of perjury that the foregoing is true and correct.

Respectfully Submitted,

/s/ Kimberly D. Hogan (Accepted as a LEGAL “ELECTRONIC SIGNATURE”!)
Kimberly D. Hogan

900 Discovery Blvd. #13102

Cedar Park, Texas 78613

kdhogan‘@vmail.com

(303)246-1587

July 31st, 2023
Case 1:21-cv-00892-RP Document 36 Filed 08/07/23 Page 2 of 4

SUPREME COURT OF THE UNITED STATES

Kimberly D. Hogan Pro se
Plaintiff / Appellant

Appeal from the U. S. Fifth Circuit Court of Appeals

No. 23-50090

Appeal from the USDC for the Western District of Texas
USDC CASE NUMBER: 1:21-CV-00892-RP

Aspire Financial, Inc. D/B/A Aspire Lending
and Council Donald E. Uloth

Defendants / Appellees

MOTION FOR LEAVE TO PROCEED JN FORMA PAUPERIS

The Petitioner asks for leave to file the NOTICE and DEMAND for JUSTICE (non-writ of
certiorari) without prepayment of costs and to proceed in forma pauperis.

Petitioner has previously been granted leave to proceed in forma pauperis in the
following courts:

Dallas County 162nd District Court, Dallas 5th Court of Appeals, SCOTEX, and USDC
Western District of Texas. Case was FRAUDULENTLY Dismissed and Closed by 5th
Circuit Court of Appeals before getting opportunity for in forma pauperis to be granted.

Respectfully Submitted,

/s/ Kimberly D. Hogan (Accepted as a LEGAL “ELECTRONIC SIGNATURE”!)

Kimberly D. Hogan
900 Discovery Blvd. #13102

Cedar Park, Texas 78613

kdhogan@ymail.com
(303) 246-1587

July 31st, 2023
Case 1:21-cv-00892-RP Document 36 Filed 08/07/23 Page 3 of 4

SUPREME COURT OF THE UNITED STATES

Kimberly D. Hogan Pro se
Plaintiff / Appellant

Appeal from the U. S. Fifth Circuit Court of Appeals

No. 23-50090

Appeal from the USDC for the Western District of Texas
USDC CASE NUMBER: 1:21-CV-00892-RP

Aspire Financial, Inc. D/B/A Aspire Lending
and Council Donald E. Uloth

Defendants / Appellees

NOTICE
DEMAND FOR JUSTICE!

NOT A WRIT OF CERTIORARI

UNCONSTITUTIONAL RULES OF PROCEDURE
NOTICE AND COMPLAINT WITH PROOF OF FRAUD COLLUSION

AND TREASON CONDUCTED BY ALL THE LOWER COURTS

MOSTLY VIA FREE RANGE WEAPONIZED CORRUPT STASI CLERKS
CENSORING AND COURTSTRIPPING

Non-Virus #SAVETHETREES Searchable Link For SCOTUS Notice/Demand click here:
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ccddb513233

1. Plaintiff / Appellant:
Plaintiff: Kimberly D. Hogan Pro se

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Cedar Park, Texas 78613
kdhogan@ymail.com
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July 31st, 2023
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